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               EXHIBIT BS
    [PUBLIC VERSION]
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                                                                                                                                     EXHIBIT NO.                   'I


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         Date:           January Xli, 2023

         To:             Esther George

         From:           Judith Hazen and Christi May-Oder

         Subject:        Custodia Bank, Inc. (fica Avanti Bank & Trust) Master Account Recommendation




         EXECUTWE UMMARYf                                                                                                              Commented IJH1]: The memo doesn't eaptcttly discuss
                                                                                                                                       the supplication otshe Bosrd'a Account Accea aGuidelines to
         Custodla Bank, Inc., (Custodia) Cheyenne, Wyoming, ade nos'o,
                                                                nos'o. sinOisus'ec/
                                                                       sinisisus'ec/ state-chartered special purpose                   custodies request. While any ofths risks discussed is      Is she
         depository institution (SEW), requested amaster account with the Federal Reserve Bank of Kansas City                          Guidelines sre msstlonsd in the dhscuaainns,
                                                                                                                                                                        dhseuaainns, ItIt isn't easy to
         (FRBKC) on October 29, 2020,
                                    2020. Custodia proposes to serve the digital asset industry by acting as abridge                   cennectthe dots. Consider adding an appendix that lists the
         to the traditional payments system through the provision of deposit services, ctypto-nsset custody services,                  aprinciples with bullets ofshe key findings and implications
                                                                                                                                       for the recommended action.
         proprietary crypto token issuance/redemption, and other crypro-asset escrow and brokerage services.
         FRBKC's review of C'ustodia's business plan and supporting documents noted the following key concerns:

               •       Custodia's planned business model relics heavily upon anascent and volatile ctypto industry and
                       presents illicit finance risks through novel activities,
               • As noted in the federal bank regulatory agencies' January 3, 2023 joint Statement,' these novel
                       activities do not yet have legal clarity at the federal level and have not yet been deemed permissible
                       for insured depository institutions. Further, it has yet to be determined whether or how the activities
                       may be conducted in amanner that adequately addresses safety and soundness concerns. This
                       uncertainty, inherent risk, and the narrowly-focused monoline business plan concentrated in the
                       ctvolo sector call into question the financial viability of the firm and its ability to generate sufficient
                       earnings to support operations and augment capital.
               •       FRBKC credit risk and supervisory staff's review of existing operations and policies (related to the
                   -
                   -   core banking services Custodia intends to offer at launch and in the near term) revealed exceptions
                       to safe and sound banking standards and best practices in the areas of BSA/AML and OFAC
                       compliance, information technology, internal audit, financial projections, and liquidity risk
                       management. While these matters could be remodeled for the limited set of core banking services
                       in the near- and medium-term, the viability of the business model is fundamentally dependent upon
                       Custodia engaging in digital asset activities that have significantly more risk and operational
                       complexity (and would require correspondingly more robust risk management and compliance
                       systems).
                       kbseot afederal regulator, He Reserve Bank will have limited visibility into Custodia' sfinancial               Commented EJH2I: There are currefittv institutions
                       condition and operations (and therefore, limited visibility into the risks borne by the Reserve Bank            without afederal regulator with master accounts and access
                                                                                                                                       without   a




                       and other participants in the Federal Reserve payment system), which are expected to change                     to services and fRnKc ho, if not currensty, provided such
                                                                                                                                       inssitutiore ucceas. Consider linking the Iscic of visibilisy fis,
                                                                                                                                       institutions
                       significantly through evolution of the business model following commencement of operations.
                                                                                                                                                     access.   Consider




                                                                                                                                       ieasvisiblllsy than an Intl into she condition, operations, etc.
                       Relatedly, regulation of C'ustodia is entirely dependent on an unproven state supervisory program               with the instituslon's
                                                                                                                                                 institusinna planned hi5her risk, monoline business
                       soeeil'acallv desiened for athis novel charter/institution type that does not inherently include the            model and she hhh volatility of the crypto Industry.
                       safety and soundness standards, requirements, and safeguards embedded within the regulatory
                       regime established for insnreddepository institutions. FRBKC also has serious concerns with safely
                       and effectively resolving a deposit-taking entity outside of the Federal Deposit Insurance




          See Joins Statement on Csyptn-Aaset Risks In Banking Organizations,
         lsttr,a:,7wavw.l'ederalreeerve,ov/nesyseventsipresareleasoa'llleaThcreg2023n I
         lsttr,a:,7wsvw.l'ederalreeerve,ov/nesyseventsipresareleasoa'llleaThcreg2023o O3al. pdf January 3, 2023.




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                    Corporation (FDIC) resolution process through the new and untested Wyoming state law resolution
                    process for SPDIs.
                    [rheapprovatofanuninsured, state-chartered entilywith anarrowly-focusedbusiness inodctlreliant            Commented [1Q31: consider including abullet in this exec
                    on serving the crypto industry and issuing aproprietary erypto token to be backed by cash held as         summary on the significant RSA/AML risks posed by the
                                                                                                                              proposed business model
                    reserves at the FRBKC. and issued and circulated on an open, public. decentralizedhetworklwoold       -




                    pose knateriat public policy koneerns that could create endue risk to the financial system and            Commented fl04]: Refer to risks noted in the interagency
                    adversely affect the Federal Reserve's ability to implement monetary policy,                              statement

                                                                                                                              Commented [lQ5R4]: consider also adding asentence
         In light of these concerns, staff recommends denial ofCostodia's master account request.                             noting that, as proposed, Aslt would bean openly
                                                                                                                              circulating liability of Custodia on an open, public network.
         While the decision to deny amaster account request rests with the Reserve Bank, Federal Reserve System               Accordingly, Custodia would not be able to track the holders
         guidance is being developed that requires apreliminary recommendation for denial of amaster account                  of its liability at any Riven time, neither would it be able an
         request to be shared with the Director of the Board's Division of Reserve Bank Operations and Payment                track/monitor intermediaries trading, leveraging, or
                                                                                                                              frsctionsliring that liability. This poses risks net just to
         Systems (RBOPS) prior to communicating any denial to the entity seeking the account. The consultation
                                                                                                                              cuatodia, but potentially to financial stability IT the payment
         process provides an opportunity for RBOPS and other Board Divisions to provide feedback to the Reserve               system were to scale
         Bank regarding the Reserve Bank's analysis of the entity. The Reserve Bank may incorporate or address
         any feedback or concerns, but still retains decision making authority, The Reserve Bank plans to provide             Commented 1JH6]; 'Material public pelicy concerns5 is
         asummary recommendation to Man Eichner, Director of RBOPS, following your support for the denial                     net defined and open to Interpretation. Consider replacing
         decision.                                                                                                            with areference to the principles In the Board's Account
                                                                                                                              Access Guidelines,
          BACKGROUND AND TIMELINE

         Custodia isa den,,. SPDI with acharter issued under the Wyoming SPDI Act. The Wyoming legislature
         enacted the SPDI Act (and other digital-asset-related legislation) in 2019, to facilitate the establishment of
         a new type of uninsured depositorvfinai cial institution that could serve btoekchain innovators and
         encourage erypto-asset-based businesses to form and operate in Wyoming. Under the SPDI Act, Custodia
          may engage in nontending banking business, provide payment services for depositors, and, with the
          approval of the State Banking Commissioner, engage ia any other activity that is usual or incidental to the
         business of banking. Wyoming law prohibits SPDIs from making loans and requires SPDIs to maintain
         unencumbered liquid assets with avalue of at least 100 percent of its deposit liabilities.

          Custodia was granted an SPDI bank charter by the Wyoming Division of Banking (DOB) on October 28,
          2020. Custodia submitted Operating Circular 1Master Account Agreements to FRBKC on October 29,
          2020, and later submitted application materials to become amember of the Federal Reserve System on
         August 5, 2021.      Since that time, FRBKC has engaged extensively with Custodia regarding its master
          account request and devoted significant resources to understanding Custodia' sbusiness plan, the SPDt
         charter, the DOB's supervision programfor SPDls, and the risks and opportunities presented by Custodia's
         request.

          Concurrent with the FRBKC's review, numerous reports and events surfaced that shed light on the nascent,
         volatile crypto-asset industry vulnerabilities of open, public, decentralized networks and the impact of
          insufficient oversight of firms engaged moulded activities. In 2020 and 202t, the Office of the Comptroller
          of the Currency Interpretive Letter 1170 series provided and clarified interpretations of permissibility for
         national banks, reaffirming the primacy of safety and soundness in conducting certain esyptocturency,
         distributed ledger, and stabteeoin activities, and requiring supervisory oonobjectioo before national banks
         may engage in such activities. In November 2021, the President's Working Group (FWG), 2 joined by the
          FDIC and the Office of the Comptroller of the Currency (0CC), released areport highlighting the benefits


           See President's Working Group on Financial Markets Report on Stablecoins,
          htlps:I/home.treasssry.eov/aystemlflleall36/SlabteCoinReeort Novi 508 -if November 1,2021.




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          and risks of stablecoins, including inconsistent and fragmented oversight of token issuers. The report
          provided several recommendations for mitigating risks to stablecoin users and Readin g against stablccoin
          runs (including areqoirement for suibtecoin issuers to be insured depository institutions), the latter of which
          sought to address concerns related to payment system risk and concentration of economic power. nLboth                    Commented 11(17]: could also reter to the risks
          December 2021 and October 2022, the Financial Stability Oversight Council (FSOC) published reports'                      highlighted in the Etecutive Order on DA
          highlighting regulatory concerns with stablecoins and the wider cayptoeurrency,market, including the risks               hit es :
                                                                                                                                          //www,wh lteh e5se soy/h rietine-reom/e restden lit I
                                                                                                                                                                                              -
                                                                                                                                   ante ns/2522/53109!esecuttee-order-on-ensuring-
          that crypto-asset activities could pose to the stability of the U.S. financial system if their interconnections
                                                                                                                                   responsible-developmeot-et-dlglial-assets/
          with the traditional financial system or their overall scale were to grow without adherence to or being paired
          with appropriate regulation.

          l'hd volatility of the market was evident durismthis time as well. In May 2022, the TerraUSD stablecoins                 Commented 1108]: This section ferunes on risks
          and Luna token, which together formed an algorithmic stabtecoin, collapsed, causing investors to lose                    associated with unregulated eschsnges and
          millions. In November 2022, the csyptocurrency exchange FTX collapsed and filed for bankruptcy, which                    crvptocurrsncies. cestodis could argue that it is looking to
                                                                                                                                   briag the activity within the perimeter. As such it is
          had adirect and significant impact on Sitvergate Bank. La Jolla, California, an insured state member bank,
                                                                                                                                   important 10 also highlight the following additional risks
          and reportedly led to instability in a number of crypto-related companies.               Amidst these reports and        that have been Illustrated In the recent crypto market
          collapses, the crypto industry continues to experience aan-called"crypto winter" in which two-thirds of                  meltdown:
          the market capitalization or total market value of ccyptncurrency has been lost and many crypto and                        - Ill open, public decentrslired networks, specifically
                                                                                                                                      these related to harks/thefts, utIca finance, lack or
          btockchnin companies continue to experience losses as prices fall, illustrating the risks and volatility within
                                                                                                                                      governance mechanisms, and absence of standards Refer
          the nascent industry. Most recently, the Federal Reserve along with the FDIC and 0CC issued ajoint                          to interagency statement), given that custodia is
          statement highlighting caypto-asset risks that banking organizations should be aware of as confirmed by                     proposing issuing astabiecoin on such anetwork
          these events over the past year. In addition to these industry developments, the Board issued Guidelines for               '(2) monoine, crypto-forused business models
          Evaluating Account and Services Requests (Account Guidelines) to the Reserve Banks, inclusive of atiered
          framework, in August 2022.

          Custudia proposes to serve the digital asset industry by acting as abridge to the traditional payments system
          through the provision of deposit services, crypto-asset custody services, proprietary crypto token
          issuance/redemption, and other crypto-asset escrow and brokerage services. Qistodia represents it is
          seeking direct access to the Federal Reserve payment system and amaster account to execute its business
          plan in arevenue efficient manner and to mitigate apparent liquidity and settlement risks within the broader
          digital asset ecosystem.

          Upon receipt of the account request, Reserve Bank staff began an immediate assessment of Cssstodia's
          business plan and supporting documents.         During this evaluation, the tinctures for the various planned
          crypto products and services have changed and the proposed use cases of the Avit have evolved over time,
          as have staff employed by Custodia in various key areas. Custodia was notified of its legal eligibility for a
          master account and legal eligibility for membership in the Federal Reserve System in early 2022,
          understanding that legal etigibiity merely means an entity has met the mind threshold of eligibility and
          can proceed to an assessment of business model and risks posed. Shortly after the issuance of the PWG
          report, Custodia submitted adraft deposit insurance application to the FDIC. The FDIC provided feedback
          surf aced on those interactions, Custodia subsequently abandoned plans to seekdepnsitinsurance. Custodia
          continued work throughout 2021 and 2022 to build products and operational infrastructure and regularly
          engaged with Reserve Bank supervisory staff regarding risk management and operational infrastructures.


           See Financial Stability Oversight Council 2021 Annual Report,
         httosuYhoine.treaaurv.sov/syslens'files/261/FStDC202lAanealReoort.odf; sea slaothat FSOC'a Report on Digital
         Asset Financial Stability Risks and Repletion (October 3 2022), lttlos://lsnntctress,,rv.rnv!systcm/liles/261/FSOC.
         Disital-Aasets-Report-2022adf.
           See "Silvergate Raced M Cover $8.1 Billion in Withdrawals During Crypto Meltdown," Wall Street Journal
         (January 5 2023), hltpa:f'www.wsi .cum.iarlielea/silverastte-rsced-lu-cuvey-8- l-billioa-in-wilhdrawals-sluriag-civolu-
         meltdown-I tft72b'952ll7'?shrll0iS9dsah6uarb&refliak..deaktuowebshare_persnalitsk

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          Beginning September 6, 2022, a pre-membership examination occurred. Custodia was informed that
          information obtained during the pre-membership examination would be used both in the evaluation of
          Custodia's master account request and membership application (as had been the case thrnagh these
          processes) to reduce repetitive questions and burden on custodia. The membership examination was aimed
          at evaluating only Custodia's risk management program related to core banking products that would be
          offered upon opening, namely deposit accounts and traditional payment services.

          Custodia reported throughout 2021 and 2022 that cryptn-asset-related products would be offered after they
          opened for business, although the permissibility of these activities for an insured depository institution or
          state member bank remained in question and prior DOB notification is required. At the time of the pre-
          membership examination, Custodia's plans for erypto-asset-relared products and services, including the
          technology and risk management infrastructures to support, facilitate, and execute the planned activities,
          remained in the early stages of development and were not formally assessed as part of the review.
          Nonetheless, the September 6, 2022 pre.membership examination identified significant risk management
          gaps in Custodia's day-one activities, which will consist of only limited banking services. These gaps were
          most notable in the areas of BSAJAML and OFAC compliance, internal audit, and information technology
          relative to what would be expected of an operating state member bank with only traditional banking
          activities.

          A review of activities was conducted by the DOB in September 2022. While the state examiners identified
          some of the issues raised by FRBKC supervisory staff, the scope of the review and details regarding findings
          appear more limited. Subsequent to the DOE review, Custodia was granted a Certificate of Authority
          (COA) on September 12, 2022, approving the firm to eonunenee business within six months. The approval
          was limited to imminent traditional banking products, relying on aphased formal approval process to be
          followed by the organization prior to commencing proposed digital asset activities.

          On December 20, 2022, Custodia provided the Reserve Bank an update of their efforts to remediate the risk
          management gaps that were identified during the pre-membership examination. However, given the
          significance and breadth of the detailed issues identified during the examination, a targeted review
          conducted by the Reserve Bank would he necessary to flsfly assess the adequacy of Custodia's response.

          EVALUATION OF MASTER ACCOUNT REQUEST

          Structure

          By legislative design, an SPDI is not atraditional bank; SPDIs have unique features that distinguish them
          from traditional commercial banks and weaken or remove protections that exist for customers of insured
          depository institutions. For example, SPDIs are exempt from Wyoming's requirement that its banks obtain
         FDIC insurance. 5 See Wyo. Stat. §13- 2-tQ3(a). FDIC insurance "protects depositors if abank fails and      ,..




         helps prevent bank suns by providing consumers with the confidence that their money will be available
          during periods of economic or financial stress."'

          As noted above, SPDIs are required to maintain unencumbered liquid assets equal to at least iou percent
          of deposit liabilities, which is intended to mitigate the absence of FDIC insutance protection. However,



          As noted above, Cuatodia filed adraft deposit inauranee application with the FDIC following the release fthe
         PWG reporton Financial Markets Report on Stableeoiaa ..November 1, 2021, whiehrecominendedthst atabloeoin
         isanance be limited to FDIC-.insared depository institutions. The FDIC reviewed the draft application and provided
         feedback to Cuatodia in early 2022. Castodia aubaeqaently abandoned plans to seek deposit insurance.
          See Congressional Reaearcb Service, An Anolysir of Beak C/sorters end SeisctedFolicy 'ruins (Iaatsary 21, 2022),
         inipa://cisreoorlecnosrresa.eoviprodssctlpdtiWR4iQ 14.

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          existing statutory and regulatory frameworks, including those related to resolution, certain capital
          requirements, enforcement actions, changes in control, activities restrictions, and consumer protection are
          directly linked to (and only applicable based on) stanas as an insured depository institution. Thus, Custndia
          is seeking to benefit from Federal Reserve System (FRS) financial services without being subject to the
          same regulatory limitations as insured depository institutions designed to protect depositors and bank
          cnunterparties, has no federal banking regulator, 7 and is not obligated to comply with traditional banking
          regulations.

          Proposed Business Plan

          Custodin's proposed business plan is narrowly focused on serving the crypto-asset sector, offering novel,
          high-risk business activities for which afully mature legal/regutatory environment and industry-standard,
          business-cycle--tested set of risk management and operational practices and roots have not yet been
          established.       Custodia intends to engage in a broad range of digital-asset-related activities that, while
          allowed for an SPDI as amatter of Wyoming state law, are not clearly permissible for insured depository
          institutions or state member banks because they extend beyond existing interpretations and guidance from
          the federal banking agencies on digital assetfulockchain technology and raise safely and soundness and
          illicit finance concerns. Custodia has identified fourkeybusiness lines that it intends to initiate over athree-
          year time frame:

              (1) core banking        .-   traditional banking services, including demand deposits, ACT-I and wire services,
                  offered through internally developed ooline and mobile platforms;
              (2) custody      —   custody of digital assets, including holding crypto-assets on balance sheet to facilitate
                  the execution of transactions;
              (3) prime services           —   on/off ramp transactions between flat currency and ciypto-cus-
                                                                                                            rency, agency
                  services including asset brokerage, escrow, foreign exchange, and finder activities related to digitat
                  asset lending; and
              (4) Avit   —    a. bank-issued caypto token utilized for instantaneous payments that would freely circulate
                  on apublic blnckchaiat

           SAPAML and OFAC Compliance                                                        -         -
                                                                                                                               Commented [1Q91: Consider adding asection on
                                                                                                                               operational riaks of prepared buatnesa model, highlighting:
          in addition to concerns with Custodia's business plan being focused on anarrow sector of the economy and               -Crypto-anset trading, and crypto-collaterallzed lending
          financial services industry, to date, there is lack of clarity at the federal level regarding the permissibility       Irwelve nignhficant operational rinka, which pose
          of several activities proposed by Custodia. These concerns are further heightened given that Custodia is an            significant safety and soundness concern,
                                                                                                                                  Custodia would have no control over the governance at
         uninsured depository institution focused almost entirely on serving the crypto-asset market, which presents
                                                                                                                                 -




                                                                                                                                 the network on which Avis will be circulated. The open
          elevated illicit finance and other safety and soundness risks.                                                         decentralized network could have outages, cyber-attacks,
                                                                                                                                 hosnilenakeovero, etc all of which would de out of
         Csyptn-assets pose significant BSA/AML and OFAC compliance risks due to the lack of transparency; ease                  custodian control.
         and speed of transfer; and general irrevocability of transactions. The ability to conduct instantaneous
         transactions electronically and pseudnn -
                                                 smouslv enables numerous small transactions to move large sums
         of money undetected by monitoring systems. While the pre-membership examination did not include a
         review of the proposed crypto-asset activities, examiners identified significant gaps in Custodia's
         BSA/AML and OFAC compliance programs even for its core banking activities. Although Custodia has
         communicated they are actively working to remediate the gaps identified during the pre-membership
         examination, the gaps identified with respect to its core banking activities raise significant concerns
         regarding Custndia's ability to effectively scale the program to comply with BSAJAML and OFAC
         requirements for its proposed, higher-risk crypto-asset activities.          Such concerns are highlighted in the


           [Place holder for final reronunegsdation/artion on membership application.]

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         January 3, 2023 Joint Statement, which notes that, "agencies are continuing to assess whether and how
         cancer and proposed ctyplo-asset.-related activities by banking organizations can be conducted in amanner
         that adequately addresses safety and soundness, [...] legal permissibility, and compliance with applicable
         laws and regulations, including and money laundering and illicit finance statutes and rules."

         Although not reviewed in detail during the pre-membership examination, Custodia's planned issuance of
         the Avit on two public permissionless blockchains adds to concerns related to RSA/AML and OPAC
         compliance. In the Joint Statement, the federal banking agencies also note that "[b]ased on the agencies'
         current understanding and experience to date, the agencies believe that issuing or holding as principal
         crypto-assets that are issued, stored, or transferred on an open, public, and/or decentralized network, or
         similar system is highly likely to he inconsistent with safe and sound banking practices."           Custodia
         acknowledges that users would have the ability to conduct Avit transactions in perpetuity using wallets not
         hosted or controlled by Custudia, which would not have undergone an onboarding process with Custodia.
         Similarly, non-customers of Cuatodia would be able to hold and redeem Avila without undergoing the flail
         due diligence required for customer on-boarding. In addition, by the nature of the digital assets Custodia
         intends to hold in custody and the blockchains upon which transactions in those assets are recorded,
         Custodia will pay processing fees to transaction vatidators who are unknown at the time the payment is
         made and who may remain anonymous even after she wallet associated with the validator is known. This
         places Custodia and its customers in the position of making payments to unknown parties who could be
         illicit actors or sanctioned entities. While the ryptocurrencyindustiy remains in its infancy, and there ate..      Commented [1(110]: Suggest using the term 'rrypte-
         several questions related to application of the existing BS.AJAML/OFAC legal regime to digital assets that          asset,' or dlgltal-assets' for consistency.
         neither FinCEN nor OFAC has addressed, such issues highlight the inherent risks associated with caypto-
         assets that need to be mitigated to ensure this activity can be conducted in a safe and sound manner
         consistent with applicable law.

         Furthermore, Custodia has experienced turnover within key leadership roles, most notably the BSA/AML
         compliance officer, arole that four individuals have held since 2021, as well as the chief technology officer
         and chief compliance officer. The lack of stability in these key roles and lack of collective depth of relevant
         banking experience and bank-specific risk management expertise raise concerns regarding the management
         team's ability to conduct the proposed activities in asafe and sound manner. A lack of depth and breadth
         of expertise in risk, banking regulation, and compliance at the board of directors and management levels
         may have contributed to the number and degree of shortcomings identified in the pm-membership
         examination. Custodia added management and staff resources in BSA and risk after the pre-membership                 Commented (ill 11]: censider addIng the pniatthat it is
                                                                                                                             unclear (as articulated in the rerentjoint statement) that all
         examination to address these concerns.       However, the effectiveness of these additions is not readily
                                                                                                                             of the future planned cryptn activities leg., holding rryptn
         apparent.                                                                                                           nfl bosklars legally permissible for an Ini and that
                                                                                                                             cusindis's business modal may not be viable lilt were not
         Financial c.onsicterstioasf                                                                                ..   -
                                                                                                                             able to conduct those activities.

         It is uncertain whether anarrowly-focused business of offering banking services to anovel, high-risk, and           Commented lJH12l: Consider removing. It is not clear
         not fully mature industry is viable. [The Wyoming SPDI charter has not yet shown itself to support a                how this is related to the case-by-case analysis ofcusindia's
                                                                                                                             request.
         successful business model.LAt the Reserve Bank's pre-membershig review, which covered only core
         banking operations, examiners identified numerous exceptions to safe and sound banking standards,                   Commented 11(113]: Also emphasize interrnnnertedness
         requirements, and best practices. While it may be possible for Custodial to remedy some of these matters            at crypto market participants and contagion risk, as
                                                                                                                             evidenced hyTerra/Luna and fix collapses and resulting
         for the initial core banking services planned to be offered by the institution in the near term, there was
                                                                                                                             cascading effect on other crypta focused companies
         insufficient information available at the time of the exanainatlonto hilly evaluate the adequacy ofCustodlis's
         risk management systems for much riskier and complex planned digital asset activities, which are                    Commented IJH14]: Also consider adding mention of
                                                                                                                             analysis fshe maturity oF custodies liquidity risk
         fundamental to the institution's ongoing viability.    dditionaliy,[the narrowly-focused nature of the novel;
                                                                                                                             management Processes. The slivergase example illustrates
         SPDl business model beans an SPDl'a customer base is not diversified and likely to respond in asimilar              the need fore highly developed liquidity risis management
         manner to industry stresses andvents[ For example, the potential rapid lost of customers could result ins           framework for Institutions in the crypto space, particularly
                                                                                                                             her uninsured institutions which have higher run risk.

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          rapid decline in revenue and threaten the viability of an SPDI, which is exacerbated by the absence of
          deposit insurance and an untested resolution program administered by the DOD.

          Capital Requirements

          The statutory capital requirements (W.S. 13-12-110) prescribe initial capital for the first three years of
          operations. They provide little guidance to the Commissioner on how to develop capital regulations. The
          SPDI rules (Chapter 20, section 2) say that an SPDI shall have initial capital commensurate with its risk
          profile and proposed activities; however, the rules do not specify how to assess the risk of the activities
          unique to SPDts or relate them to capital requirements. frhe rules give the Commissioner ahigh degree of
          discretion in setting capital requirements, which have been set as three years of projected operating
          expenses for Custodia, it is not clear how this capital requirement was determined or will change over    timel        Commented tiHis]: Arethere aspect of custodla's
          It is unknown if the Wyoming capitalregulations for SPDls adequately capture an SPDI's risks. Insufficient             planned core bsnlcing acteisies that would require amore
          capital to support its operations and timely fttlfsllment of obligations, including during periods of stress,          robust capital resime If they were an 101? If so, consider
                                                                                                                                 adding discussion of that,
          creates undue risk to the Reserve Bank.

          Custodia is not subject to the federal regulatory capital framework for traditional insured banks and the
         slate regulations do not contain minimum leverage and risk-based capital requirements. Even if the state
         regulations did contain such requirements, the federal framework for all bus the largest banks is based on
          capital necessary for the primary risk of a traditional banking model, credit risk. It is not adequate to
          measure capital adequacy for anontraditional institution like an SPDI, which is not permitted to engage in
          lending by statute, but has significant operational, cybersecurity, BSA/AML, strategic, and other risks.

          In the absence of deposit insurance and absence of interagency capital standards that account for the types
          of risks posed hyCustodia's business model and considering the institution's reliance on revenue generated
         from narrowly focused, volatile caypto-exact-based activities as its primary source of capital augmentation,
         it remains unclear if Custodia's current and projected capital base will be sufficient to support its risk
         profs14                                                                                                            --
                                                                                                                                 Commented EJHI6I: Consider          add1n5
                                                                                                                                                                          , dtscusston that the
                                                                                                                                 lack ole robust capital requirement framework for custodia
         Resolution Process                                                                                                      could result in unrestrained asset sroeih with Implications
                                                                                                                                 for the assessment of monetary policy implementation and
         The difference between the resolution framework for afederally insured depository institution and an SPIN               financial stability risks under the Guidelines. The discussion
         is akey difference between Tier Iand Tier 3 institutions as described in the Account Access Guidelines                  later in the document hints atthis issue, but it might be
         and amajor source of risk to the FRBKC. Custodia is required by stale regulation to develop aresolution                 better to be more eapticit here,
         planwithin six months of commencing operations. Wyo. Rules & Rugs. 021.0002.20 §4(a). Since Custodia
         is notFDtC insured, nor federally regulated, the resolution process in the event of afailure is out sufficiently
         defined without aresolution plan. Under Wyoming's SPDI statute, each SPDI must secure asurety bond
         or irrevocably pledge specified assets to the State to cover costs likely to be incurred by the Commissioner
         in aliquidation or conservatorship of the SPDI. Wyo. Stat, §13-12-11& The DOB has required Custodia
         to pledge 515MM of capital. This capital is not presumed to support the risk from by the Federal Reserve
         Dank, and instead is excluded from consideration of unencumbered assets that could protect the Reserve
         Dank in the event of Custodia failure with anegative balance in the master account. At this time, Custodia
         has not developed aresolution plan, but has indicated preliminarily that it would rely upon asale of its
         assets and liabilities to another Wyoming SPDI, none of which are federally regulated or currently
         operating. In the event no Wyoming SPDI is available to acquire its business, Custodia would sell its
         custody business to ciypso-asset exchanges or trust companies, and its deposit business to banks that
         provide traditional banking services to the crypto-asset industry. However, as evident by recent events in
         the crypto industry, such proposed acquirers are likely to be experiencing stress at the same time as
         Custodia.




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          If aresolution plan is put in place by Custodia, the process outlined by the DUB contains no guarantees the
          Reserve Bank would be made whole in the event Custodia fails to meet its obligations. In the event of an
          SPDT's failure and subsequent resolution under a receivership administered by the State Banking
          Commissioner, this Reserve Bank would have the same priority treautsent as all other Cuttndia customers,
          with its claims paid at the same time and with the same priority as any customer "claims relating to deposits,
          custodial, fiduciary and trust assets" Wyo. Rules & Rags. 021,0002.20 §6(j). This contrasts with insured,
          federally regulated entities where customer deposits are insured and indemnity agreements between the
          Reserve Banks and both the FDIC and National Credit Union Administration would provide
          indemnification to the Reserve Bank in the event of afailure up to the value of the collateral pledged to the
          Reserve Bank. With the DUB and Custodial, there is no indemnity agreement or other asrangement in place
          to provide assurance that the Reserve Bank would be protected in the event it continues providing fmanciel
          services to an SI'Dl experiencing financial distress.           The Reserve Bank's practice to assist and ensure
          orderly closures of depository institutions would be severely hindered by alack of clarity mound protecting
          the Reserve Bank from loss. In addition, the process for resolution, in the absence of aplan defined by the
          institution and approved by the DUB, is unclear. The DUB would be faced with the receivership of a
          depository institution with novel activities for which it does not have any prior experience.

          [
          Public Policy Implications[                                                                                          -   -
                                                                                                                                       Commented PH 171: Conaiderrenamine this section. As
                                                                                                                                       me
          The statutory and regulatory safety and soundness framework for SPDls is substantially different from the
          framework that applies to federally insured institutions. While state and federal bathing agencies are
          responsible for ensuring safety and soundness of an entity's activities, only the Federal Reserve has a
          mission to ensure asafe and efficient payments system.

          The lack of afederal prudential framework for SPD]s (like other Tier 3 institutions under the Guidelines)
          leaves the Reserve Bank with limited risk-monitoring tools and virtually no remediatiun or enforcement
          authority, other than what would be available under the Board's Policy on Payment System Risk and
          Operating Circular IS The potential for contractual commitments by Custodia to provide information and                       Commented PH 8]: I        find this sentence overly broad and
          other limited monitoring or visitation rights by the Reserve Bank as acondition for the provision of an                      confusing. Are you asserting that providing an account
                                                                                                                                       and/or services to any tier ainstitutions (without sfederal
          account and services would not mitigate risks to nearly the same extent or with the same legal certainty that
                                                                                                                                       reguistorl would be contrary to Board policies? This
          would come from federal Prudential supervision over Custodial pursuant to awell-established legal and                        sentence could he read to Imply that. I  suggettthai you
          regulatory framework. This effectively creates an inability by the Reserve Bank to assist the Board in its                   rework this sentence to be focused on your specific risk
          policy goals of ensuring the safety and soundness of the banking system, effectively implementing                            snslvsis of Custodis,
          monetary policy, promoting financial stability, protecting consumers, and promoting a safe, efficient,                       Commented [KJ19]: The operational risks ofAvit issued
          inclusive, and innovative payment System]                                                                                    and circulated on an open public decentralized network also
                                                                                                                                       poses significant rislrs, if Perot scale; and becomes akey
          t
          l'heselconcerns m'epresented Enough the structureofan SPDI aswell asCusodia'spIannedbusinessosodel,                          component of the us payment system.
          and des nol'o status. Vor example, the design of the Avit, which is intended to be backed by deposits held                   There are significant risks to payment system that operates
                                                                                                                                       on an infrastructure with 'lack of governance mechanisms
          in amaster account, could have implications for the Federal Reserve's balance sheet. Growth in the Avit
                                                                                                                                       establishing oversight ofihe system; the absence of
          would generate demand for Federal Reserve liabilities and given the volatility of the crypto business, could                 contracts or standards to clearly establish roles,
          create significant fluctuations and complicate the Federal Reserve's ability to manage the size of its balance               responsibilties, and liabilities', and vulnerabillties related to
                                                                                                                                       cyber-attacks, outages, lost or trapped assets, and Illicit
                                                                                                                                       finance," as noted on the lnteraency system.
                                                                                                                                                 -



          In addition, the backing of Avila by deposits held at the Reserve Bath couldbe viewed as implicit backing
          sheet[
                                                                                                                                       Commented (JH2o): This characterisation seems to me
          by the Federal Reserve, which could also enable such products to scale quickly. While Custodia alone may                     overly broad and oversteting the risk without support. The
          not impact the Federal Reserve's balance sheet,         rantiog preterite amaster account would set afavorable               issuance of Avits would need to be massive before it
                                                                                                                                       created implications for the balance sheet. Are there
                                                                                                                                       specific aspect olCustodia's business model (such as the
           See The Federal Reserve's Payment System Risk Policy.                                                                       lack of dynamic, asset-seed based capital requirements)
          bttps:llwww.fedarsli'esesve.org/paymenessystums(psrrelpolicies.hlsu; Operating Circstor 1, Seen= 2.11,                       that increase the monetary policy and/or financial stability
          https://wtvtv.frbaervices.orgThinaries/eonteut'ersnems/resources/nsles-regulaliens/08 162 l-operating-eiresslsr- 1.pdf       risks of the Mit?

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          precedent for other existing SPIlls and other non-traditional charter4 J!t would make nnisssured charters                 Commented [JH21]: Seems overly broad and potentially
          more attractive for the caypto-asset industry,[and issuance of instruments like the Mit by master account                 overstating she risk. Ibelieve that there are several lois that
          holders may be precedent-setting in allowing similar products at other banks. reflectively, these trends                  have pbyed around with stableceins, such as BRYM.

          could accelerate the growth of the crypto-asset marker, creating financial stability   concerns[   [These are broad
                                                                                                                                    Consider focusing on the analysts at custodian proposed
                                                                                                                                    slablecols/Avit that potentially raises higher risk than other
          policy matters that extend beyond the Reserve Bank and while risk mitigation strategies are being                         examples.
          contemplated by the Federal Reserve Board, practically, it is not clear how these controls would be
                                                                                                                                    Commented [JI422J: Aren't there already alist of crypio
          implementeaL
                                                                                                                                    related institutions with arange at novel chartersthat are
                                                                                                                                    uninsured? So, how would amaster account for custodia
          CONCLUSION
                                                                                                                                    be some watershed in interest of uninsured charters?

          The identified issues create undue risk to the Reserve Bank, risk to the overall economy due to potential             -
                                                                                                                                    You have strong arguments above (some of which could be
          illicit activities, and potential risk to the payment system.     In fight of these risks and publlc policy               further strengthened) that the specific risks ofcustodia
          implications, staff recommends denial of Custodia's master account request.                                               support denying an account, Consider hamingihe
                                                                                                                                    monetary policy and financial stability risks as contributing
                                                                                                                                    factors that augment that more critical risks above.

                                                                                                                                    Commented (JHZ3J: From Financial Stability colleagues:
                                                                                                                                    the link between accelerating the growth of the cryptoauuet
                                                                                                                                    market and creating financial stability concerns Ian's totally
                                                                                                                                    clear

                                                                                                                                    Commented 1JH241: This mention of potential risk
                                                                                                                                    mitigation strategies (i.e, account balance limits, correct)
                                                                                                                                    being explored by the System seems to added without
                                                                                                                                    contact.




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